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                     7     New Choice Communications, Inc., and
                           Lighthouse Communications, LLC
                     8

                     9                                  UNITED STATES DISTRICT COURT

                   10                                          DISTRICT OF NEVADA

                   11

                   12      R. ALEXANDER ACOSTA, Secretary of Labor,
                           United States Department of Labor,       CASE NO.:                 2:16-cv-02353-GMN-GWF
                   13
                                                         Plaintiff,            DEFENDANTS NEW CHOICE
                   14                                                          COMMUNICATIONS, INC.,
                           v.                                                  LIGHTHOUSE COMMUNICATIONS,
                   15                                                          LLC, AND RYAN ROACH’S MOTION
                           WELLFLEET COMMUNICATIONS, LLC, a                    FOR SUMMARY JUDGMENT
                   16      Nevada Limited Liability Company; NEW
                           CHOICE COMMUNICATIONS, INC., a
                   17      Nevada Corporation; LIGHTHOUSE
                           COMMUNICATIONS, LLC, a Nevada Limited
                   18      Liability Company; ALLEN ROACH, an
                           individual; RYAN ROACH, aka RYAN LORE,
                   19      an individual,

                   20                                    Defendants.

                   21
                   22             Defendants New Choice Communications, Inc., (“New Choice”),                      Lighthouse

                   23      Communications, LLC (“Lighthouse”), and Ryan Roach (collectively, “Defendants”), by and

                   24      through their counsel of record, the Garg Golden Law Firm, hereby move for summary judgement

                   25      pursuant to Federal Rule of Civil Procedure 56. There is no genuine dispute as to any material fact,

                   26      and Defendants are entitled to judgment as a matter of law.

                   27      ///

                   28      ///
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                     1                         MEMORANDUM OF POINTS AND AUTHORITIES

                     2              STATEMENT OF MATERIAL FACTS NOT GENUINELY IN DISPUTE

                     3            1.      New Choice and Lighthouse are telemarketing companies. Ex. A at 20:23 – 21:17.

                     4            2.      Ryan Roach is an owner of New Choice and Lighthouse. Id.

                     5            3.      New Choice purchased the assets of Defendant Wellfleet Communications, LLC

                     6     on April 29, 2016. Ex. B.

                     7            4.      Wellfleet had undergone an investigation by the U.S. Department of Labor

                     8     (“DOL”) regarding direct sellers being classified as independent contractors, but the DOL verified

                     9     that Wellfleet had “come into compliance effective 02/01/2016 by tracking all hours worked and

                   10      paying at least minimum wage for all hours worked to all employees.” Ex. C at DOL036131.

                   11             5.      Plaintiff added Defendants to this case upon the filing of the First Amended

                   12      Complaint (“FAC”) (ECF No. 44) on September 18, 2017.

                   13                               STANDARD FOR SUMMARY JUDGMENT

                   14             Under Federal Rule of Civil Procedure 56(c), summary judgment is appropriate if there is

                   15      no genuine dispute of material fact and the moving party is entitled to judgment as a matter of law.

                   16      A fact is material if it “might affect the outcome of the suit under the governing law.” Anderson v.

                   17      Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute about a material fact is “genuine . . . if

                   18      the evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Id. at

                   19      248. The inquiry is “whether the evidence presents a sufficient disagreement to require submission

                   20      to a jury or whether it is so one-sided that one party must prevail as a matter of law.” Id. at 251-

                   21      52. A “genuine issue” does not exist “where the only evidence presented is uncorroborated and

                   22      self-serving testimony.” Villiarimo v. Aloha Island Air, Inc., 281 F.3d 1054, 1061 (9th Cir. 2002)

                   23      (internal citations omitted).

                   24             Summary judgment is properly regarded not as a disfavored procedural shortcut, but rather

                   25      as an integral part of the federal rules. Celotex Corporation v. Catrett, 477 U.S. 317, 327 (1986).

                   26      One of the purposes of such a motion is to dispose of unsupported claims. Id. at 323-24. Therefore,

                   27      “after adequate time for discovery” the entry of summary judgment is warranted “against a party

                   28      who fails to make a showing sufficient to establish the existence of an element essential to that
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                     1     party’s case and on which that party will bear the burden of proof at trial.” Id. at 322.

                     2                                                ARGUMENT

                     3     I.        THE FLSA’S STATUTE OF LIMITATIONS BARS MUCH OF PLAINTIFF’S
                                     CLAIMS.
                     4

                     5               Defendants join and incorporate herein the arguments raised in the Motion for Summary

                     6     Judgment filed by Defendants Wellfleet and Allen Roach regarding the statute of limitations (ECF

                     7     No. 148 at 13-19). Defendants provide the following additional argument for the Court’s

                     8     consideration.

                     9               Through legislation codified in 1938 and 1966, Congress adopted a two-tiered statute of

                   10      limitations for FLSA violations. Actions for unpaid minimum wages, unpaid overtime, or

                   11      liquidated damages under the FLSA “may be commenced within two years after the cause of action

                   12      accrued, and every such action shall be forever barred unless commenced within two years after

                   13      the cause action accrued, except that a cause of action arising out of a willful violation may be

                   14      commenced within three years after the cause of action accrued.” 29 U.S.C. § 255(a) (emphasis

                   15      added).

                   16                The FLSA’s standard two-year statute of limitations can be extended to three years only if

                   17      the plaintiff sufficiently proves a “willful” violation. See id. Efforts to exceed the standard two-

                   18      year statute of limitations can be established if, and only if, the employer “knew or showed reckless

                   19      disregard for the matter of whether its conduct was prohibited by the statute. . . .” McLaughlin v.

                   20      Richland Shoe Co., 486 U.S. 128, 133 (1988). Even an employer that acts unreasonably, but not

                   21      recklessly, cannot be held to have acted willfully under the FLSA. See McLaughlin, 486 U.S. at

                   22      135, n.13; see also Mireles v. Frio Foods, Inc., 899 F.2d, 1407, 1416 (5th Cir. 1990) (failure to

                   23      seek legal advice concerning pay practices does not, taken alone, demonstrate a willful violation);

                   24      Zannikos v. Oil Inspections (USA), Inc., 605 Fed. Appx. 349, 360 (5th Cir. 2015) (employer that

                   25      knew of FLSA’s potential applicability but failed to research or consult with an attorney or DOL

                   26      did not willfully violate the FLSA); Regan v. City of Charleston, 142 F. Supp. 3d 442, 436 (D.S.C.

                   27      2015) (defendant did not act willfully where its incorrect assumption resulted in the erroneous

                   28      calculation of overtime); Lugo v. Farmer’s Pride, Inc., 802 F. Supp. 2d 598, 617-18 (E.D. PA.
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                     1     2011).

                     2              Plaintiff did not add Defendants to this case until September 18, 2017. Therefore, any

                     3     claims that predate September 18, 2015 are time-barred as a matter of law, and judgment should

                     4     be entered in Defendants’ favor on those claims. Nevertheless, Plaintiff is attempting to recover

                     5     on claims that date back to October 15, 2012—nearly three years beyond the statute of limitations

                     6     cutoff in this case. See FAC (ECF No. 44) at ¶¶ 32, 33, and 34.

                     7              A.     ALL CLAMS AGAINST DEFENDANTS BEFORE SEPTEMBER 18, 2015
                                           ARE TIME-BARRED.
                     8

                     9              Plaintiff did not add Defendants to this case until September 18, 2017. Therefore, any

                   10      claims that predate September 18, 2015 are time-barred as a matter of law, and judgment should

                   11      be entered in Defendants’ favor on those claims. Nevertheless, Plaintiff is attempting to recover

                   12      on claims that date back to October 15, 2012—nearly three years beyond the statute of limitations

                   13      cutoff in this case. See FAC (ECF No. 44) at ¶¶ 32, 33, and 34. As will be discussed more fully,

                   14      “willfulness,” the relation back doctrine, and equitable tolling do not extend the limitations period

                   15      on Plaintiff’s claims.

                   16               B.     PLAINTIFF LACKS EVIDENCE SUFFICIENT TO GO TO A JURY THAT
                                           DEFENDANTS’ CONDUCT WAS WILLFUL.
                   17

                   18               To extend the statute of limitations from two to three years under the FLSA, Plaintiff must

                   19      show Defendants’ conduct was willful. That is, Defendants “knew or showed reckless disregard

                   20      for the matter of whether [their] conduct was prohibited by the FLSA.” Chao v. A-One Med. Servs.,

                   21      Inc., 346 F.3d 908, 918 (9th Cir. 2003) (brackets and citations omitted). Negligent conduct is not

                   22      enough for willfulness. McLaughlin, 486 U.S. at 133. Moreover, a court “will not presume that

                   23      conduct was willful in the absence of evidence.” Alvarez v. IBP, Inc., 339 F.3d 894, 909 (9th Cir.

                   24      2003).

                   25               In addition to the arguments raised by Defendants Wellfleet and Allen Roach in their

                   26      Motion (ECF No. 148) regarding willfulness, Plaintiff has produced little to no evidence to suggest

                   27      the conduct of Defendants here was willful. First, there is no evidence that New Choice or

                   28      Lighthouse were involved in any decisions to treat the direct sellers as independent contractors.
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                     1             Second, Plaintiff also provides no evidence that Ryan Roach had any input or influence in

                     2     how the call center workers were classified or any authority over how they were classified. In fact,

                     3     Ryan Roach had not even looked at the independent contractor agreements that were being signed

                     4     by the call center workers when they were treated as independent contractors at Advanced

                     5     Integrated Communications (a predecessor to Wellfleet) or at Wellfleet. See Ex. A at 125:7 –

                     6     127:7. He thought an independent contractor relationship was common business practice among

                     7     call centers, and he never had any reason to believe call center workers would be misclassified if

                     8     treated as independent contractors. See id. at 127:19 – 129:4. Even if Ryan Roach’s actions were

                     9     considered unreasonable, they do not amount to willfulness. See McLaughlin, 486 U.S. at 135,

                   10      n.13.

                   11              Based on the foregoing, all of Plaintiff’s claims that predate September 18, 2015 are time-

                   12      barred as a matter of law, and judgment should be entered in Defendants’ favor on those claims.

                   13      II.     NEW CHOICE DOES NOT HAVE SUCCESSORSHIP LIABILITY FOR
                                   ACTIONS DONE BY WELLFLEET.
                   14
                   15              The Ninth Circuit recognizes successorship liability under the FLSA. See Steinbach v.

                   16      Hubbard, 51 F.3d 843, 845 (9th Cir. 1995). Successorship liability may attach when “1) the

                   17      subsequent employer was a bona fide successor,” and “2) the subsequent employer had notice of

                   18      the potential liability.” Id. at 846. Whether a subsequent employer is a bona fide successor hinges

                   19      on the degree of business continuity between the successor and the predecessor. See id.

                   20      Nevertheless, successorship liability’s roots lie in the principles of equity and fairness. See id.

                   21              Here, successorship liability should not attach to New Choice. New Choice purchased the

                   22      assets of Wellfleet on April 29, 2016. Ex. B. At that time, all of Wellfleet’s direct sellers had been

                   23      converted from independent contractors to employees. Ex. A at 155:24 – 156:2; Ex. C at

                   24      DOL036131. Additionally, New Choice did not hire all of the direct sellers or even all of the

                   25      managers from Wellfleet. Only some of the employees were hired by New Choice. Id. at 155:21 –

                   26      156:12. Given that by the time of the asset purchase by New Choice, the DOL had found Wellfleet

                   27      to be in compliance with the FLSA, New Choice would have had no reason to believe or notice of

                   28      it inheriting possible liability by way of the asset purchase. Accordingly, New Choice should not
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                     1     be liable under the FLSA for violations committed by Wellfleet, which Defendants deny were

                     2     committed in any event.

                     3     III.   THE DIRECT SELLERS WERE PROPERLY CLASSIFIED AS INDEPENDENT
                                  CONTRACTORS.
                     4

                     5            To the extent the Court finds that Defendants could be liable for any time-period in which

                     6     the direct sellers were classified as independent contractors, Defendants maintain that the direct

                     7     sellers were properly classified as independent contractors and, therefore, Defendants are not liable

                     8     under the FLSA as a matter of law. For argument on this issue, Defendants join and incorporate

                     9     herein by reference the arguments by Defendants Wellfleet and Allen Roach on pages 27 through

                   10      30 of their Motion for Summary Judgment (ECF No. 148).

                   11      IV.    LIQUIDATED DAMAGES SHOULD NOT BE APPLIED TO DEFENDANTS.

                   12             In the event there is a finding of liability against Defendants, liquidated damages should

                   13      not be applied to Defendants. To that end, Defendants join and incorporate herein by reference the

                   14      arguments on liquidated damages set forth on pages 19 through 27 of Defendants Wellfleet and

                   15      Allen Roach’s Motion for Summary Judgment (ECF No. 148).

                   16      V.     CONCLUSION

                   17             Based on the foregoing, Defendants are entitled to a judgment as a matter of law on the

                   18      issues set forth above.

                   19             Dated this 29th day of June, 2018.

                   20                                                         GARG GOLDEN LAW FIRM

                   21
                   22                                                         By /s/ Anthony B. Golden
                                                                                ANTHONY B. GOLDEN, ESQ.
                   23                                                           Nevada Bar No. 9563
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                   24                                                           Henderson, Nevada 89052
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                   25                                                           Counsel for Defendants Ryan Roach, New
                                                                                Choice Communications, Inc., and
                   26                                                           Lighthouse Communications, LLC

                   27

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                     1                                   CERTIFICATE OF SERVICE

                     2            I certify that on the 29th day of June, 2018, I electronically filed the foregoing

                     3     DEFENDANTS           NEW    CHOICE      COMMUNICATTIONS,           INC.,    LIGHTHOUSE

                     4     COMMUNICATIONS,            LLC, AND RYAN ROACH’S MOTION FOR SUMMARY

                     5     JUDGMENT with the Clerk of the Court by using the ECF system, which served the following

                     6     parties electronically:

                     7                                  Susan Seletsky, Esq.
                                                        Laura C. Bremer, Esq.
                     8                                  Tara Stearns, Esq.
                                                        David Edeli, Esq.
                     9                                  U.S. Department of Labor
                                                        Office of the Solicitor
                   10                                   Counsel for Plaintiff

                   11                                   Malani L. Kotchka, Esq.
                                                        Hejmanowski & McCrea LLC
                   12                                   Counsel for Defendants Wellfleet Communications LLC and
                                                        Allen Roach
                   13

                   14                                                By /s/ Anthony B. Golden
                                                                       For the GARG GOLDEN LAW FIRM
                   15

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                     1                                 INDEX OF EXHIBITS

                     2           Ex. A                                  Select pages from Deposition of Ryan Roach

                     3           Ex. B                                  Purchase of Business Agreement

                     4           Ex. C                                  Fair Labor Standards Act Narrative Report

                     5

                     6

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                  EXHIBIT A
  (Select pages from Deposition of Ryan Roach)




                  EXHIBIT A
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   1                   UNITED STATES DISTRICT COURT
   2                         DISTRICT OF NEVADA
   3
   4   R. ALEXANDER ACOSTA,           )
       Secretary of Labor, United     )
   5   States Department of Labor,    )
                                      )
   6                 Plaintiff,       )
                                      ) Case No.
   7             vs.                  ) 2:16-CV-02353-GMN-GWF
                                      )
   8   WELLFLEET COMMUNICATIONS,      )
       LLC, et al.,                   )
   9                                  )
                     Defendants.      )
  10   _______________________________)
  11
  12
  13
  14                     DEPOSITION OF RYAN ROACH
  15                      Friday, April 20, 2018
  16                            9:34 a.m.
  17              400 South Seventh Street, Suite 400
  18                     Las Vegas, Nevada      89101
  19
  20
  21
  22
  23
       Reported By:
  24   Gale Salerno, RMR
       CCR No. 542
  25   Job No. 180420ORS
                                                                       1

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   1   that?
   2         A.    I did.
   3         Q.    And did you spend some time helping to deal
   4   with Advanced Integrated Communications?
   5         A.    Yes.
   6         Q.    When was that?
   7         A.    Right after he passed away in, you know,
   8   September of 2009.
   9         Q.    How long did you stay out there?
  10         A.    I don't remember exactly.        But, you know,
  11   maybe a couple of weeks.        At first two weeks.
  12         Q.    So John Martino spent a semester there,
  13   didn't he?
  14         A.    I don't remember.      I don't know.
  15         Q.    Did you -- did you ever spend months at a
  16   time at the call center?
  17         A.    Not months, no.
  18         Q.    Just a few weeks?
  19         A.    Yes.   I had other commitments.
  20         Q.    Right.    Because you were working for the
  21   fire department in 2009?
  22         A.    Correct.
  23         Q.    And what is New Choice Communications,
  24   Inc.?
  25         A.    It's a telemarketing company.
                                                                       20

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   1         Q.    And that was one of your father's companies
   2   as well, correct?
   3         A.    Yes.
   4         Q.    Did you inherit New Choice?
   5         A.    Yes.
   6         Q.    Are you the sole owner?
   7         A.    I think me and my brother are partners on
   8   that one as well.
   9         Q.    What about Lighthouse Communications?
  10         A.    Yes.
  11         Q.    What is Lighthouse Communications, LLC?
  12         A.    A telemarketing communications center.
  13         Q.    And was it one of your father's
  14   companies?
  15         A.    No.    I think I started that one.
  16         Q.    You started it?
  17         A.    Opened it, yes.
  18         Q.    When was that?
  19         A.    I don't remember.      I don't know the exact
  20   year.
  21         Q.    And why did you start Lighthouse?
  22         A.    To sell AT&T.
  23         Q.    AT&T what?
  24         A.    Phone services.
  25         Q.    So why did you start -- why did you need to
                                                                       21

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   1               Do you recognize this document?
   2         A.    I don't, no.
   3         Q.    Have you ever seen a document like this
   4   before?
   5         A.    No.
   6         Q.    Turn to page 76.
   7               And let me back up and say that the title
   8   of this is Independent Contractor Agreement for
   9   Direct Seller.
  10         A.    Yes.
  11         Q.    And the first page says that it's between
  12   Advanced Integrated Communications and independent
  13   contractor.     I can't make out that, Reginald
  14   something.
  15         A.    The name is on the front.        Legaspi.
  16         Q.    On June 2nd, 2010.
  17         A.    Yes.
  18         Q.    So on the last page it says Advanced
  19   Integrated, and then your name is underneath that,
  20   and it's comma, president, slash Allen Roach GM?
  21         A.    Yes.
  22         Q.    So were you the president of Advanced
  23   Integrated Communications at this time?
  24         A.    I would have been.       Yes, I inherited that
  25   company.
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   1         Q.    You inherited AIC?
   2         A.    That was my father's company, yes.
   3         Q.    But did you ever sign this agreement that's
   4   blank where the signature is?
   5         A.    I don't think so, no.
   6         Q.    Were you in Las Vegas in June of 2010?
   7         A.    I don't recall.      I don't know.
   8         Q.    But you said you would go three to four
   9   times a year?
  10         A.    I would, yes.
  11         Q.    Around that time?
  12         A.    It could be, yes.
  13         Q.    So did you ever have any discussions with
  14   anyone -- any of the existing managers for AIC about
  15   this agreement?
  16         A.    No.
  17         Q.    Did you ever talk to anyone else about this
  18   agreement?
  19         A.    No.
  20         Q.    Were you aware that independent contractors
  21   were signing it?
  22         A.    No, I didn't -- I mean, I left it up to,
  23   you know, I was kind of past practice, and if these
  24   were in place, then that's what, you know, the sales
  25   agents would sign.      I've never even really looked at
                                                                       126

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   1   them.
   2         Q.    Were you aware that contracts were being
   3   signed by the sales agents?        Just I'm asking if
   4   you're aware that there was an agreement, even if you
   5   hadn't looked at them.
   6         A.    Yes.   Yeah, I would assume that they would
   7   sign something, yes.
   8         Q.    So you were aware that they were -- the
   9   sales representatives before 2016 were being treated
  10   as independent contractors?
  11         A.    Yes.
  12         Q.    And that was through Lighthouse's sales
  13   reps?
  14         A.    Yes.
  15         Q.    And Wellfleet.      Well, New Choice didn't
  16   have its own payroll, right?         So do you know whether
  17   New Choice had agreements with sales reps?
  18         A.    I don't know.
  19         Q.    Did you ever do any research about what
  20   would be necessary to treat someone as an independent
  21   contractor?
  22         A.    No.
  23         Q.    Did you ever ask anyone for advice about
  24   that?
  25         A.    No.    Past practice.     That's how -- I just
                                                                       127

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   1   assumed that call centers were ran like that.
   2         Q.    What made you assume that?
   3         A.    Because that's how it was ran before.
   4         Q.    That's how your father had run it?
   5         A.    Yes.
   6         Q.    How did you know that was the way he ran
   7   it?
   8         A.    I knew that they were all 1099.
   9         Q.    Do you know whether your father had
  10   consulted an attorney?
  11         A.    I don't know.
  12         Q.    Did you ever hear about sales reps filing
  13   wage complaints with the State Labor Commissioner?
  14         A.    No.
  15         Q.    Did you -- were you aware of any complaints
  16   at the time that your father passed away?
  17         A.    No.
  18         Q.    Did any sales reps ever talk to you about
  19   being unhappy about their pay?
  20         A.    No.
  21         Q.    What about managers, did managers talk to
  22   you about that?
  23         A.    No.
  24         Q.    When was the first time that you saw this
  25   agreement or something like that?
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   1         A.    I don't know.
   2         Q.    Today?
   3         A.    Yeah, I never looked at one, to be honest.
   4   I don't remember seeing them.
   5               MS. STEARNS:     Now I'll pass out what was
   6   previously marked Exhibit 4.
   7                      (Exhibit 4 was marked for
   8                      identification.)
   9   BY MS. STEARNS:
  10         Q.    Exhibit 4 is document 5-3, page 25 through
  11   28.
  12               Do you recognize Exhibit 4?
  13         A.    No.
  14         Q.    It appears to be an independent contractor
  15   agreement for direct seller dated February 2014
  16   between Wellfleet, and I can't read that handwriting,
  17   an independent contractor slash direct seller.
  18         A.    Yes.
  19         Q.    But it seems to be slightly different than
  20   the one that we looked at earlier.
  21         A.    I'd have to look at them side by side.
  22               It looks a little different.
  23         Q.    Do you know who revised Exhibit 4 from the
  24   original AIC one?
  25         A.    No, I don't.
                                                                       129

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   1         Q.    Was Allen the general manager of New Choice
   2   at the time of this agreement?
   3         A.    No.    He stayed on board for the -- you
   4   know, to help out.
   5         Q.    He stayed on board?
   6         A.    For that year until 2017, yes.
   7         Q.    He stayed on board managing the call center
   8   business?
   9         A.    Just overseeing, yes.
  10         Q.    Why was that?
  11         A.    Because I couldn't be here every day.           Just
  12   the transition period.
  13         Q.    And what happened in 2017?
  14         A.    I don't know.     He left.
  15         Q.    So who took his place?
  16         A.    Really no one.      Managers run it day to day,
  17   and they communicate with me, and that's pretty much
  18   it.
  19         Q.    They are still in Boston?
  20         A.    Yes.
  21         Q.    Did New Choice hire Wellfleet's employees
  22   at the time of this agreement or shortly afterward?
  23         A.    Some employees did, yes.
  24         Q.    And at that point, all of the sales
  25   representatives were already being treated as W-2
                                                                          155

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   1   employees?
   2         A.    Yes.
   3         Q.    And the managers that had been employed by
   4   Wellfleet, were they all hired by New Choice?
   5         A.    Not all.
   6         Q.    Not all of them?
   7         A.    Just...
   8         Q.    Just what?
   9         A.    Just Stephanie and Midge.
  10         Q.    So they were the only two managers that
  11   stayed on?
  12         A.    Yes.
  13         Q.    Were any programs or campaigns eliminated
  14   at this point?
  15         A.    I don't think so, no.
  16         Q.    So the campaign stayed the same?
  17         A.    Yes.   It was Birch.
  18         Q.    It was just Birch?       No other?
  19         A.    I don't think any other campaigns, no.
  20         Q.    So let me just see if I understand.          So the
  21   LDP program had been eliminated in the prior fall or
  22   earlier that year?
  23         A.    The what program?
  24         Q.    I'm sorry, long distance products.
  25         A.    I think those were the only.         Oh...
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                   EXHIBIT B
          (Purchase of Business Agreement)




                   EXHIBIT B
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                                                                                                          / Ye ~i
                                                                                                      EXHIBIT NO.   ±1.
                                                                                                      ,-i~iXY1~iC

                                    PURCHASE OF BUSINESS AGREBMENT

     THIS PURCHASE OP BUSINESS AGREEMENT (the “Agreement”) made and entered into this
                 day ofApril, 2016 (the “Execution Date”),

     BETWEEN:



            ___________of                    L92€~ ICLaQL                  ,   Laa ‘{Ag~~Nevada
                                                     (the “Seller”)

                                                                                          OF THE FIRST PART

                                                         and


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-èS o.tt’vL UAo.A.~\-\Ec’cc                   N.ec~s QS.to~cse. Cc ~c..c
                                                  (the “Purchaser”)

                                                                                      OP THE SECOND PART

   BACCGROTJNJ)

   A.     The Seller is the owner of Welifleet communication 1k of3 100 W Sahara Ave 209, Las Vegas,
          Nevada 89102 (the “Business”), which carries on the business ofMarketing under the operating
          name Weilfiect communication lic in the State ofNevada.

   B.     The Seller owns the assets of the Business and desires to sell certain assets (the eAssetsl~), to the
          Purchaser, subject to any exclusions set out in this Agreement and the Purchaser desires to buy
          the Assets.

   IN CONSIDERATION ofthe provisions contained in this Agreement and for other good and valuable
   consideration, the receipt and sufficiency ofwhich consideration is acknowledged, the Parties agree as
   follows:



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     Purchase ofBusiness Agreement                                                                    Page 2 of 14


             Defluitiens
             The following definitions apply in the Agreement:

             a.        The “Assets’ consists ofthe following:

                       1.    All equipment used in canying on the Business.

                   ii.       All inventoiy and packaging.

                   iii.      All outstanding and confirmed sales orders.

                   iv.      All books, records and files, relevant to carrying on the Business.

                   and does not include any Excluded Assets.

         b.       ‘Closing” means the completion of the purchase and sale of the Assets as described in this
                  Agreement by the payment of agreed consideration, and the transfer of title to the Assets.

         c.       “Excluded Assets” means assets that are owned by the Seller but do not form anypart of
                  the Assets for the puipose of this transaction. Excluded Assets will include the following;

                  i.        Cash items held by the Seller including, but not limited to, cash bank balances, and
                            term deposits.

        d.        “Parties” means both the Seller and the Purchaser and “Party” means any one of them.

        Sale
2.      Subject to the tem~s and conditions of this Agreement, and in reliance on the representations,
        warranties, and conditions set out in this Agreement, the Seller agrees to sell the Assets to the
        Purchaser and the Purchaser agrees to purchase the Assets from the Seller.

        Purchase Price
3.      The Parties agree that the Purchase Price for the Assets will be allocated among the Assets as
        follows subject to required adjustments that are agreed upon by the Parties:

        Business Equipment                                              I        $30,000.OOJ




                                                                                                           WCOO1 759
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            Inventory and packaging                                               $9,882.00
            Outstanding sales orders                                              $7,907.00
            Books, records and files                                              $2,211.00
                                                             Sub-Total          $50,000.00
           State Sales Tax 0% (Reg. #:                                               $0.00
                                                        Purchase Price          $50,000.00



 4.       The Parties agree to co-operate in the filing of elections under the Internal Revenue Code and
          under any other applicable taxation legislation, in order to give the required or desired effect to
          the allocation of the Purchase Price.

          Closing
 5.       The Closing of the purchase and sale of the Assets will take place on April   _______,   2016 (the
          “Closing Date”) at the offices of the Seller or at such other time and place as the Parties mutually
          agree.

 6.       At Closing and upon the Purchaser resolving the Purchase Price in fill to the Seller, the Seller
          will deliver the Assets to the Purchaser. The Seller will deliver to the Purchaser possession of the
          Assets, free and clear of any liens, charges, rights ofthird parties, or any other encumbrances,
          except those attached as a result of the Purchaser’s actions.

7.       At Closing and upon the Purchaser resolving the Purchase Price in MI to the Seller, the Seller
         wilt provide the Purchaser with duly executed forms and documents evidencing transfer of the
         Assets, where required including, but not limited to, bills of sale, assignments, assurances, and
         consents. The Seller will also co-operate with the Purchaser as needed in order to effect the
         required registration, recording, and filing with public authorities of the transfer of ownership of
         the Assets to the Purchaser.

         Payment
8.       The Purchase Price for the Assets will be paid by the Purchaser with a promissory note (the
         “Promissory Note”) in the form attached, in the amount of the Purchase Price, made out to the
         Seller.




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9.           The Purchaser is responsible for paying all applicable taxes, including federal sales tax, state
             sales tax, duties, and any bther taxes or charges payable that are necessary to give effect to the
             transfer of the Assets from the Seller to the Purchaser.

            Sellefl Representations and Warranties
10.         The Seller represents and warrants to the Purchaser that:

            a.     The Seller has thU legal authority to enter into and exercise its obligations under this
                   Agreement.

            b.     The Seller is the absolute beneficial owner of the Assets, with good and marketable title,
                   free and clear of any liens, charges, encumbrances or rights of others. The Selleris
                   exclusively entitled to possess and dispose ofthe Assets.

            c.     To the best knowledge of the Seller there is no pending or anticipated claim against the
                   Assets or against the Seller’s ownership or title in the Assets or against the Seller’s right to
                   dispose of the Assets.

        d.        No third party contract is outstanding that could result in a claim against or affecting the
                  Assets in whole or in part either now or in the future.

        e.        The Business does not have any outstanding contacts, agreements, or commitments of any
                  kind, written or oral, with any third party regarding the Assets, except for the material
                  contracts described in, and attached to this Agreement. The seller represents and warrants
                  that no default or breach exists with regard to any presently outstanding material contract.

       £          Execution of this Agreement will not hinder or unfairly disadvantage any pre-existing
                  creditor.

       g,         There has been no act or omission by the Seller that would give rise to any valid claim
                  relating to a brokerage commission, fmder’s fee, or other siniilarpayment.

       h.         The Seller isa resident of the United States for the pulposes of the Internal .Revern.ie Code.

       i.        The Business has withheld all amounts required to be withheld under income tax
                 legislation and has paid all amounts owing to the proper authorities.




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Purchase of Business Agreement
                                                                                r                    Page 5 of 14


            j.     The Business is not bound by any written or oral pension plan or collective bargaining
                   agreement or obligated to make any contributions under any retirement income plan,
                   deferred profit sharing plan or similar plan.

        Ic.       The Business will not hire any new employees, or substantially change the role or title of
                  any existing eñaployees, provide unscheduled or irregular increases in salary or benefits to
                  employees, or institute any significant changes to the tenus of any employees’
                  employment, after signing this Agreement, unless the Purchaser provides written consent

        I.        There are no claims threatened or pending against the Business by any cun-ent or past
                  employee relating to any matter arising from or relating to the employment of the
                  employee.

        m.        The Assets, while owned by the Seller, have been maintained at all times in accordance
                  with standard industry practice. The Seller further warrants that all tangible assets are in
                  good working order.

       a         The Business is operating in accordance with all applicable laws, mles, and regulations of
                 the jurisdictions in which it is carried on. In compliance with such laws, the Seller has duly
                 licensed, registered, or qualified the Business with the appropriate public authorities.

       o.        The Business maintains insurance policies on the Assets, offl-ill force and effect, and of
                 adequate value as would be reasonable in its industry. The Business has neither defaulted
                 under these insurance policies, as a result of fhilure to pay premiums or due to any other
                 cause, nor has the Business failed to give notice or malce a claim under these insurance
                 policies in a timely mannet

       p.        The Business owns or is licensed to use all necessary software and it can continue to use
   •             any and all computerized records, files and programs into the foreseeable future in the
                 same manner as befbre the Closing Date,

       q.        The Business has filed all tax reports and returns required in the operation ofthe Business
                 and has paid all taxes owed to all taxing authorities, including foreign taxing authorities,
                 except amounts that are being properly contested by the Seller, the details of this contest
                 having been provided to the Purchaser.




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         r.      This Agreement has been duly executed and delivered by the Seller and constitutes a legal
                 and binding obligation of the Seller, enforceable in accordance with its tem~s, except as
                 enforcement may be limited by bankruptcy and insolvency, by other laws affecting the
                 rights of creditors generally, and by equitable remedies granted by a court of competent
                jurisdiction.

 11.     The representations and warranties given in this Agreement are the only representations and
         warranties. No other representation or warranty, either expressed or implied, has been given by
         the Seller to the Purchaser, including, without limitation, any representations or warranties
         regarding the merchantability o(the Assets or their fitness for a particular purpose.

12.      The Seller warrants to the Purchaser that each of the representations and warranties made by it is
         accurate and not misleading at the Closing Date. The Seller acknowledges that the Purchaser is
         entering into this Agreement in reliance on each warranty and representation.

13.     The Seller’s representations and warranties will survive the Closing Date of this Agreement for a
        period of five years, after which time, if no claim has been made by the Purchaser against the
        Seller regarding the breach or inaccuracy of a representation or warranty, the Seller will have no
        frrther liability with regard to any of the representations or warranties given in this Agreement

14.     Where the Purchaser has a claim against the Seller relating to one or more representations or
        warranties made by the Seller, the Seller will have no liability to the Purchaser unless the
        Purchaser provides notice in writing to the Seller containing MI details of.the claim on or before
        the third anniversary of the Closing Date.

15.      Where the Purchaser has a claim against the Seller relating to one or more representations or
        warranties made by the Seller, and the Purchaser is entitled to recover damages from a third party
        then the amount of the claim against the Seller will be reduced by the recovered or recoverable
        amount less all reasonable costs incurred by the Purchaser in recovering the amount from the
        third party.

        Purchaser’s Representations and Warranties
16.     The Purchaser represents and warrants to the Seller the following:

        a.     The Purchaser has full legal authority to enter into and exercise its obligations nuder this
               Agreement.




                                                                                                       WCOO 1763
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         b.    The Purchaser has fluids available to pay the full Purchase Price and any expenses
               accumulated by the Purchaser in connection with this Agreement and the Purchaser has
               not incurred any obligation, commitment, restriction, or liability of any kind, absolute or
               contingent, present or future, which would adversely affect its ability to perfonu its
               obligations under this Agreement.

        c.     The Purchaser has not committed any act or omission that would give rise to any valid
               claim relating to a brokerage commission, finder’s fee, or other similar payment.

        d.     The Purchaser is a resident of the United States for the purposes of the Internal Revenue
               Code.

        e.      This Agreement has been duly executed by the Purchaser and constitutes a legal and
               binding obligation ofthe Purchaser, enforceable in accordance with its terms, except as
                enforcement may be limited by bankruptcy and insolvency, by other laws affecting the
               rights of creditors generally, and by equitable remedies granted by a court of competent
               jurisdiction.

        1.     The Purchaser has no knowledge that any representation or warranty given by the Seller in
               this Agreement is inaccurate or false.

17.     The representations and warranties given in this Agreement are the only representations and
        warranties. The Purchaser has given no other representation or warranty, either expressed or
        implied, to the Seller.

18.     The Purchaser warrants to the Seller that each of the representations and warranties made by it is
        accurate and not misleading at the date of Closing. The Purchaser acknowledges that the Seller is
        entering into this Agreement in reliance on each warranty and representation.

19.    The Purchase?s representations and warranties will survive Closing for a. period of five years,
       after which time, ifno claim has been made by the Seller against the Purchaser regarding the
       breach or inaccuracy of a representation or warranty, the Purchaser will have no further liability
       with regard to any of the representations or warranties given in this Agreement.

20.    Where the Seller has a claim against the Purchaser relating to one or more representations or
       warranties made by the Purchaser, the Purchaser will have no liability to the Seller unless the




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          Seller provides notice in writing to the Purchaser containing fill details of the claim on or before
          the third anniversary of the Closing Date.

 21.     Where the Seller has a claim against the Purchaser relating to one or more representations or
         warranties made by the Purchaser, and the Seller is entitled to recover damages from a third party
         then the amount ofthe claim against the Purchaser will be reduced by the recovered or
         recoverable amount less all reasonable costs incurred by the Seller in recovering the amount from
         the third party.

         Conditions Precedent to be Performed by the Purchaser
22.      The obligation of the Seller to complete the sale of the Assets under this Agreement is subject to
         the satisfaction of the following conditions precedent by the Purchaser, on or before the Closing
         Date, each of which is acknowledged to be for the exclusive benefit of the Seller and may be
         waived by the Seller entirely or in part:

         a.     All of the representations and warranties made by the Purchaser in this Agreement will be
                true and accurate in all material respects on the Closing Date.

        b.     The Purchaser will obtain or complete all foxms, documents, consents, approvals,
               registrations, declarations, orders, and authorizations from any person or any governmental
               or public body, required of the Purchaser in connection with the execution of this
               Agreement.

        c.     The Purchaser will execute and deliver the Promissory Note to the Seller.

        Conditions Precedent to be Perfonned by the Seller
23.     The obligation of the Purchaser to complete the purchase ofthe Assets under this Agreement is
        subject to the satisfaction of the following conditions precedent by the Seller, on or before the
        Closing Date, each of which is acknowledged to be for the exclusive benefit of the Purchaser and
        may be waived by the Purchaser entirely or in part:

        a.     All ofthe representations and warranties made by the Seller in this Agreement will be true
               and accurate in all material respects on the Closing Date.

        b.     The Seller will obtain and complete any and all forms, documents, consents, approvals,
               registrations, declarations, orders, and authorizations from any person or governmental or




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               public body that are required of the Seller for the proper execution of this Agreement and
               transfer of the Assets to the Purchaser.

        c.     No substantial damage to or alteration of the Assets that would adversely affect their value
               will occur between the date this Agreement is signed and the Closing Date.

        d.     The Seller will have obtained any necessary consents for assigning any leases to the
               Purchaser as well as providing estoppel certificates from such owners or landlords that
               there are no arrears ofrent, no breaches under such leases and the amount ofthe security
               deposits held by such third parties.

        e.     The Seller will execute and deliver bills of sale for the Assets in favor of the Purchaser.

        f.     The Seller will provide the Purchaser with complete information concerning the operation
               of the Business, in order to put the Purchaser in a position to catty on in the place of the
               Seller.

        Disclosure
24.     Upon the reasonable request of the Purchaser, the Seller will, from time to time, allow the
        Purchaser and its agents, counsel, accountant, employees, or other representatives to have
        unrestricted access to the premises of the Business and to all of the books, records, documents,
        and accounts of the Business, during normal business hours, between the date of this Agreement
        and the Closing Date, in order for the Purchaser to confirm the representations and warranties
        given by the Seller in this Agreement.

       Conditions Precedent Not Satiafleci
25.    If either Party fails to satisi~’ any condition precedent as set out in this Agreement on or before
       the Closing Date and the opposite Party does not waive that condition precedent, then this
       Agreement will be null and void and there will be no Thrther liability as between the Parties.

       Employees
26.    At least 30 days prior to the Closing Date, the Purchaser will provide written offers of
       employment to every employee of the Business (the “Transferred Employees”). The offers of
       employment will be subject to execution ofthis Agreement and successful closing of this
       transaction. Prior to the Closing Date, the Purchaser will make itself available to discuss with
       each Transferred Employee the terms of the individual employment offers.




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 27,     The Purchaser will not offer employment to any employee of the Business who is receiving
         disability benefits under a disability plan ofthe Seller as of the Closing Date. Those employees
         receiving disability benefits will not be considered a ftansferred Employee and will remain the
         full responsibility of the Seller.

28.      The Seller will pay all employee compensation incurred by it up to and including the Closing
         Date and including all salaries, benefits, bonuses and any other compensation of any kind owing
         to all employees up to and including the Closing Date, The Seller will be responsible for all
         severance benefits, vacation days, sick days, personal days and other compensated time off
         accrued by all employees up to and mom ding the Closing Date.

29.      The Seller is in compliance with all applicable foreign and domestic statutory rules and
         regulations respecting employment and employment practices and has withheld and reported all
         amounts required by law with respect to wages and salaries and the Seller is not liable for any
         accrued taxes or penalties and is not liable or in arrears to any government or private pension,
         social security or unemployment insurance authority. The Seller indenmifies the Purchaser for
         any future liabilities relating to employment and employment practices where the subject of the
         liability occurred up to and including the Closing Date.

30.     To the best knowledge ofthe Seller, no labor dispute is currently in progress, pending or
        threatened involving the Transferred Employees of the Business that would interfere with the
        normal productivity or production schedules of the Business.

31.     After the Closing Date, the Purchaser will adojit, assume, and become solely responsible for all
        Transferred Employee benefit plans including, but not limited to, all health and disability plans
        and pension plans currently administered by the Seller. The Purchaser wifi collect and pay over to
        the Seller any contributions of the Sellei’s employees that relate to periods prior to and including
        the Closing Date. The Purchaser agrees to waive all waiting or qualification periods and pre
        existing conditions and limitations of such plans for the Transferred Employees.

        Non-Assumption ofLiabifities
32.     It is understood and agreed between the Parties that the Purchaser is not assuming and will not be
        liable for any ofthe liabilities, debts or obligations of the Seller arising out ofthe ownership or
        operation of the Business prior to and including the Closing Date.




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 33.     The Seller will indemnify and save harmless the Purchaser, its officers, directors, employees, and
         agents from and against all costs, expenses, losses, claims, and liabilities, including reasonable
         legal fees and disbursements, or demands for income, sales, excise or other taxes, suffered or
         incurred by the Purchaser or any of the above mentioned persons arising out of the ownership or
         operation of the Business prior to and including the Closing Date.

         Transfer of Third Party Contracts
 34.     This Agreement should not be construed as an assignment of any third party contract from the
         Seller to the Purchaser ifthe assignment would be a breach of the third party contract.

35.      The Purchaser will be solely responsible for acquiring new contracts with third parties where the
         existing contracts are not legally assignable from the Seller to the Purchaser.

36.      Notwithstanding any other provision in this Agreement to the contraxy, the Seller will not be
         liable for any losses, costs or damages of any kind including loss ofrevenue or decrease in value
         of the Business resulting from the failure of the Purchaser to acquire any third party contracts.

        Notices
37.     Any notices or deliveries required in the performance of this Agreement will be deemed
        completed when hand-delivered, delivered by agent, or seven (7) days after being placed in the
        post, postage prepaid, to the Parties at the addresses contained in this Agreement or as the Parties
        may later designate in writing.

        Bxpensesfcosts
38.     The Parties agree to pay all their own costs and expenses in connection with this Agreement

        Confidentiality
39.     The Seller and the Purchaser will hold confidential all information (the “Confidential
        Thfonnation”) pertaining to this Agreement including but not limited to, the terms ofthis
        Agreement, the Purchase Price, the Parties to this Agreement, and the subject matter of this
        Agreement as well as any written or oral information obtained about the respective Parties that is
        not currently in the public domain. Confidential Information will not include the following:

        a.     Information generally known in the respective industries of the Purchaser and the Seller.




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        b.     Information that enters the public domain through no fault of the Purchaser or the SellerS

        a.     Information that is independently created by the Purchaser or the Seller respectively
               without direct or indirect use of information obtained during the course of negotiations for
               this Agreement.

        d.    Information that is rightflully obtained by the Purchaser or the Seller from a third party
              who has the right to transfer or disclose the information.

40.    The Seller and the Purchaser may disclose any Confidential Information relating to this
       Agreement to any of its employees, agents and advisors where there is a need to know in relation
       to this Agreement and where the personnel agree to be legally bound by the same burdens of
       confidentiality.

41.    The Seller agrees to indemni~’ the Purchaser against any and all harm suffered by the Purchaser
       for any breach of confidentiality by the personnel of the Seller.

42.    The Purchaser agrees to indemni~, the Seller against any and all harm suffered by the Seller for
       any breach of confidentiality by the personnel of the Purchaser.

43.    The confidentiality restrictions in this Agreement will continue to apply after the Closing Date of
       this Agreement without any limit in time.

       Severability
44.    The Parties acknowledge that this Agreement is reasonable, valid, and enforceable; however, if
       auypart of this Agreement is held by a court of competent jurisdiction to be invalid, it is the
       intent of the Parties that such provision be reduced in scope only to the extent deemed necessaiy
       to render the provision reasonable and enforceable and the remainder of the provisions ofthis
       Agreement will in no way be affected or invalidated as a result.

45.    Where any provision in this Agreement is found to be unenforceable, the Purchaser and the Seller
       will then make reasonable efforts to replace the invalid or unenforceable provision with a valid
       and enforceable substitute provision, the effect ofwhich is as close as possible to the intended
       effect of the original invalid or unenforceable provision.




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  Purchase of Business Agreement                                                                PaRe 13 of 14


         Governing Law
 46.     This Agreement will be governed by and construed in accordance with the laws of the State of
         Nevada.

         Juris diction
 47.     The courts of the State ofNevada are to have jurisdiction to settle any dispute arising out of or in
         connection with this Agreement

        Genexul Provisions
 48.    This Agreement contains all terms and conditions agreed to by the Parties. Statements or
        representations which may have been made by any Party to this Agreement in the negotiation
        stages of this Agreement may in some way be inconsistent with this final written Agreement. AU
        such statements are declared to be of no value to either Party, Only the written terms of this
        Agreement will bind the Parties.

49.     This Agreement may only be amended or modified by a written instrument executed by all of the
        Parties.

50.     A waiver by one Party of any right or benefit provided in this Agreement does not infer or permit
        a further waiver of that right or benefit nor does it infer or permit a waiver of any other right or
        benefit provided in this Agreement.

51.     This Agreement will not be assigned either in whole or in part by any Party without the written
        consent of the other Party.

52.     This Agreement will pass to the benefit of and be binding upon the Parties’ respective heirs,
        executors, administrators, successors, and permitted assigns.

53.     The clauses, paragraphs, and subparagraphs contained in this Agreement are intended to be read
        and construed independently of each other. If any part of this Agreement is held to be invalid, this
        invalidity will not affect the operation of any other part of this Agreement

54.     All of the rights, remedies and benefits provided in this Agreement wilt be cumulative and will
        not be exclusive of any other such rights, remedies and benefits allowed by law or equity.




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                                               C--.
                                          (.

           Purchase ofBusiness Agreement                                                               Page 14 of 14

           55.       Time is ofthe essence in this Agreement

          56.        This Agreement may be executed in counterparts.

          57.     Headings are inserted for the convenience ofthe Parties only and are tot to be considered when
                  interpreting tbi~ Agreement. Words in, the s~igular mean and include the plural anti vice versa.
                  Words in the masculine gender include the feminine gender and vice versa. Words in the neuter
                  gender include the masculine gender and the ~minine gender and ~vice versa.

         ]WWITNESJ$ WHEREOF the Parties have duly affiked their signatures under hand and seal on this
                 a    day ofApril, 2016.

          SIGNED, SEALED, .AND•DPJ.JVFJJThD
         inthepresenceof


•.   ?~ Witness:
     $   Wiluess Name: __________________
                                                 (Sign)
                                                                       ~
                                                                            ~c5~Z, ~~_/
                                                                                                     4::~c_~~’


         SIGNED, SEALED, S≥1D DELIVERED
         in the presence of


     pG Witness:                                (Sign)            ~         .Rtjjn -
     ~ Witness Name;                                                  x~.._J2urohaser).t1-QMt,




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                                                                                                                     WC001771
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                  EXHIBIT C
  (Fair Labor Standards Act Narrative Report)




                  EXHIBIT C
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 Wellfleet Communications LLC                                        Case ID: 1765378
 dba Wellfleet Communications                                        EIN: XX-XXXXXXX
 3100 Sahara Ave
 Sui le 209
 Las Vegas, NV 89102
 TEL. (702) 777-5555

 POINTS OF CONTACT

 Allen Roach                                          Malani L Kotchka
 Owner                                                Attorney
 3100 Sahara Ave                                      520 South Fourth Street
 Suite 209                                            Suite 320
 Las Vegas, NV 89102                                  Las Vegas, NV 89101
 702-777-5555 x602                                    702-834-8777


                        FAIR LABOR STANDARDS ACT NARRATIVE REPORT

                                           COVERAGE:

 The subject firm is n telemarketing company lhnt sells long distance phone service for AT&T,
 Birch Communications, Verizon and other companies and is owned and operated by Allen
 Roach.

 Mr. Allen Roach, 100% owner slates the managers oversee the telemarketers and report lo him
 and that he is responsible for the day to day business operations. Mr. Roach is responsible to
 obtaining contructs, sets the rates of pay, commission rates and hours for the firm .



                                               . Wellfleet Communications sells phone service in
 the state of Nevada to people residing 011 other states like New Mexico, Virginia and New York;
 therefore, all calls made from the subject firm are interstate calls. (See Exb B-7)

 The subject finn's ADV for the past three years, provided at the initial conference exceeds the
 $5Q0,000 threshold for the investigative period of IQ/15/2012-Hl/1~/2015:          · · ·       ·
    .-f \~ >-:\'.-:;-

 2012 ADV $3,812,053
 2013 ADV $3,829,707
 2014ADV $2,479,190
 (See exhibit C·3·3b)

 The subject firm handles goods that hnve been moved in commerce including office supplies
 from Office Mux which include paper clips made in Florida, paper made in South Carolina and




                                                                                        DOL036127
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pens made in Japan. This information was orovided hv the employer during the initial conference
(SeeExb. C-1) :!1:,' k''. '',' ,-.,, •·· .,, ... · ,·,,;; .
Period for this investigation is 10/15/2012-10/16/2015



                                                             EXEMPTIONS:



The employer classified the following managers ns salary exempt: Mij Courtney Manager of
Birch Business 2, Sara Robinson Manager of the Long Dislnnce Prngrams, Stephanie Sulusi
Manager of Birch Business, and Dawn Pinzza Offi~e Manne.er. Their d!.!ti.e,;_ inl'.=,llrlf\,
interviewing, hiring ,ind supervising employeesJ·-\111 :,,, ,,: ,tti' ·'· _ ·. -·._ ··,:, ··1• ' "' ''fi"'' _ .
           ,          ;This information was gathered trom interview statements due to the salary
employees not providing statements. (See employee statements B-2, B-3, B-5, B-16, B-19, B-21)

                                                         STATUS OF COMPLIANCE:

History: Prior history in WHISARD: None

Reason for Investigation:

The investigation was. initiated by a,cornpl~i~t filed bv
    ·-~(1fd.·f:!1   !~:·:/.) ::;- ;-,':(:);   J: f-~;,


The complainant alleged he wns misclassified as an independent contractor being paid
commission only on sales made for long distance phone service and not being paid al least
minimum wage for all hours worked.




  .. ... ._ _ .   .               . At the time of the initial conference, the owner stated he had a
staff of dghteen (18) employees, to include himself. Mr. Roach stated nil of the 1elemarkete1·s
were independent contractors, therefore, he did not feel the need to keep accurate time records
for them. Mr. Roach states the independent contractors are paid commission only on a sliding
scale. Mr. Roach states he does not keep time or pay records for the independent contractors
claiming their ability to come and go as they please qualifies them as independent contractors.
Mr. Roach states the hours of operation are from 7:00am and closes'at 7:00pm Monday through
Friday and 9 am to 2pm Saturday. Saturday is not u regularly scheduled work day and
considered optional to the telemarketers. Through employee interviews, WHI Ann determined
there are multiple shifts available to the telemarketers. The first shift is from 7am lo 2pm and the
second shift is from 9am to 4pm and the third shift is from 2pm to 7pm. All of the telemarketers
are required to talce a 30 minute lunch at the same time. A floor manager will dismiss the
representotives for their lunch and breaks at the same time. Interview statements confirm lhis




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 information. (B 1·824) In addition, the interview statements offinn many will stay after their
 shift and work the optional Saturday to achieve a sales quota.



                      : The finn advertises in local papers and online for sales
representatives/telemarketers. They also have a sign at the front desk that reads, "Now Hiring."
Interview statements confirm they complete an application ond are interviewed prior to being
hired, Employees fill out nn application, take a test, are interviewed and provided on the job
training. (See Exb. B-12) At the time of hire, they are asked to complete a contract in which they
are signing they are an independent contractor and would be paid as such, (See exhibit D·3-3d)
The subject firm sets the rate of pay in the form of a commission scale. The employees are
provided with the commission pay scale, which is determined by the subject firm The employee
is not able Lo negotiate the rate of pay. (Sec Exb. D-7) In addition to the pay scale, they ure
provided with the rules and guidelines for attendance and their wor1>. schedule. They are granted
an attendance bonus on all calls if they nre punctual throughout the work week. (See exhibit B-
 l) Should they be tnrdy or truant during the work week they lose the attendance bonus for the
entire work week; for example, if their commission is $20 per line and they are on time all five
days of the week they would receive $25 per line instead of the $20. If they are tardy or truant
throughout the week, they lose the $5 bonus. The flom manager tracks all of the sales
representative's time on calls, their arrival and departure time in addition to their breaks. All sales
representatives are dismissed for their two ten minute breaks and thirty minute lunch at the same
time by the manager. The subject film sells phone and utility lines to residential and business
customers in other states. All sales are done over the telephone using an uuLo-dialer and
computer. As soon as one call ends, the computer system automatically dials the next telephone
number for the sales representative. The sales representatives use a script provided by the subject
finn to complete the sale. All sales are conducted from the subject firm's establishment. Sales
representatives do not provide their own leads, equipment nor set their own schedules. The
headset used to conduct the call, the computer, the leads, the telephone service and script are all
provided by the subject film. The employee does not provide any of the necessary materials lo
perform their job. The services provided by the sales representatives are an integral part of the
subject firms business. The nature of business for the subject firm is sales via the telephone.
Employee interview statements confirmed employees do not advertise their telemarketing skills
and services as telemarketers elsewhere, nor do they work at another telemarketing company at
the same time they worked for the subject firm. In nddition to using a script to complete n sale,
the sales representatives have a manager that will assist them in closing a den] or working with a
cuslomer. (See exhibit B 1-B24)

Method of computation to determine hours worked:

Due to the employer failing to keep accurate record of hours worl d, the calculation of weekly
hours worked was determined by interview statements. Based on the interview statements the
workers claimed they would start working at the start time of their shift with no pre shfft work
and stopped working at the end of their scheduled shift with no post shift work would take a
mandatory 30 minute lunch break. Although ~r·,.~9;~,~~1~J,i;ii1J1s tl~~~ WO<llld .~e nhle to. r:nn,P. nnrl
go as they please and rorely work a full shift) ·. . J,,    <:: ·· ·       .
                                                                           > . · .·. ···. · - ·.        . ...
Telemarketers would typically work a 7 hour sluftexclucling the 30 mimi'tc lunch and work a 5




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   day work week. Although most telemarketers work the morning shift some do work the
   afternoon shift from 2pm to 7pm. Taking the afternoon shifl into consideration ::ind employees
   not working !l full 5 day work week, the average hours worked weekly was reduced average
   from 35 to 25.5. (See Exb. E-1-lb)

   Ex -                        would work Monday through Friday 7am to 2:30 with n 30 minute
   lunch.
   7 hours a dny multiplied by 5 days n week = 35 hours worked a week. reduced to an average 25.5
   hour work week
   25.5 * 7 .25 minimum wnge = $184.88 due to employee

   Method of Computation to detennine amount paid to employees:

   Employees are paid weekly commissions along with monthly spiffs. The monthly spiff wns
   divided by .2308 to determine n weekly payment. The weekly commission and weekly spiff are
   combined to determine if the employee was paid at least $7 .25 for 25.5 hours worked.
   Ex. j   ;'"\,, i>               .. • received weekly commission checks and i{,·>·''· :monthly Spiff for the
                                     :                                             k·,l•   .
   month of(

   Date                     Commission Monthly          Weekly   Totaf     ·.,Hourly
                            Paid       Spiff.           Spiff    Paid         Rate
                                                                                                             j
                                                                                                             -!




    The employee earned f           hnqrly for 25,5 hou!'s worked.
    The difference of 7.25 and           is
   .• /, * 25.5 =·
    The e1.nnlov~e rlirl nnt P.nn, 11t IP.f!d 1T1inimum wngc in : ·                  · :esulling in a total due for
       ·,·,, .;"-·'-·i·;~                ...   .   ..




          ·.• > ·, ... >Jfhe employer faifedfokecp a record of pllyment for fl,'"IUfS worked ..The employer
      states the workers were independent contractors and that he did not need to keep the required
      records. The employ~r has a time keeping system in place for ull hourly and salary workers and
•· ., ;\ ' ; · i,>· · · ' ·   · ..   fhe employer agreed to have all wol'kers utilize the time clock for
· ' keeping track of time. (See Exb. D~4)




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                                        DISPOSITION:

A final conference was held at the Las Vegas District Office with Mr. Allen Roach, Assistant
District Directol' Gene Rumos and WHI Alisa Ann on April 6 2016.

WHI Ann informed Mr. Roach he violated the record keeping requirement by not Lracking hours
worked and monies paid for hours worked for misclassified independent contractors. Mr. Roach
slated when he inherited the business from his brother he took over the business and had an audit
performed by a Certified Public Account,mt and the Nevada State Department of Taxation. Mr.
Roach stated that the result of the investigation was that the workers are being classified
correctly. Mr. Roach was not able to provide a copy of the determination. Mr. Roach claimed the
prior investigation is his Good Faith Defense. WHI Ann informed Mr. Rouch it is his
responsibility to provide any proof of his Good Faith Defense and it would be considered when
assessing Liquidated Damages. WHJ Ann informed Mr. Roach due 10 his inability to provide any
documentation full Liquidated Damages will be asse.~sed for back w."ges due.

WHI Ann informed Mr. Roach he violated Sec. 6 of the Fair Labor Standards Act by not paying
employees at least minimum wage for all hours worked. WHI Ann informed Mr. Roach the total
back wages found to 1444 employees is $803,387.24. Mr. Roach stated he was unable to pny that
amount and that he should be fined a small amount since he is in compliance. WHI Ann replied
stating the Wage Hour Division docs not assess fines but seeks back wages to be paid to the
affected employees. WHI Ann infonned Mr. Roach the Nevada State Labor Commission has
several investigations on hold until the case is concluded with Wage and Hour and that if there is
no agreement to pay, all workers can individually make claims against him for more tlmn the 3
year period of investigation. Mr, Roach stated he was nol able to pay the full amount but might
be able to pay a portion of the amount. WHI Ann provided financial disclosure documents for
Mr. Roach to complete for evaluation to determine his ability to pay.

Addendum to Disposition:

On April 26 2016 Mr. Ramos received an email from Attorney Malani Kotchka stating she has
been rernincd by Wellfleet to represent lhem in the investigation asking time to review the
documentation and schedule a meeting. (See Exb. D-12)

On June 8, 2016 Attorney Malani Kotchka met with WHI Ann and ADD Ramos to discuss the
back wages found. WHI Ann and ADD Ramos briefed Attorney Kotchka on the determination of
misclassified independent contrnctors and that it has been verified Mr. Roach has come into
compliance effective 02/01/2016 by tracking all hours worked and paying at least minimum
wage for all hours worked to all employees.

WHI Ann infonned Ms. Kotch.kn of the total amount in back ;Nages owed; explaining the
original amount found due was reduced due to conversations with Mr. Rouch to decrease the
average weekly hours worked from 35 to 25.5. WHI Ann informed Ms. Kotchka the Labor




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      Commission of Nevada has several complaints on hold waiting for the outcome of this
      investigation. Mr. Ramos informed Ms. Kotchka that if Mr. Roach is willing to pay but not able
      to pay the full amount determined he would need to complete the financial disclosure statements
      which would be reviewed by the forensic accountant to determine the amount the employer
      would be able to pay. Mr. Ramos also instructed Ms. Kotchka that if Mr. Roach is not able to
      pay any back wages the employees would be notified of their rights for private action.

      WHI Ann provided Ms. Kotchka the individual transcriptions for all employees found due along
      with the financial disclosure documents to be completed by Mr. Roach. Ms. Kotchka stated she
      will review the information with her client and provide n response by June 30, 2016.

      Complainant Notification:

      On 06/24/16 WHI Ann attempted to contact the complainant with the phone num,ber orovided
      during _intake. : .:r:;> f>i- 1"
::-,:>/1··',1:).;,




      Publications: Provided the Handy Reference Guide, Fair Labor Standards Act, Overtime
      Publicaiton #1325, CPR Reg 516, 578, 779, 785 and Fact Sheets 21, 22, 23, 44, 64 & 77A at the
      initial conference.




     Alisa Ann
     Wage & Hour Investigalor
     Tuesday, June 28, 2016

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                                   ,}''•··




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